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                            UNITED STATES DISTRICT COURT

                               DISTRICT OF NEW MEXICO
                        _________________________________________

UNITED STATES OF AMERICA,

               Plaintiff,

       v.                                                                       No. 19-cr-0592-WJ

RICK BENAVIDEZ,

               Defendant.

   MEMORANDUM OPINION AND ORDER DENYING DEFENDANT’S OPPOSED
    MOTION FOR RE-IMPOSITION OF CONDITIONS OF PRETRIAL RELEASE

       THIS MATTER is before the Court upon Defendant’s September 26, 2020, Motion for

Re-imposition of Conditions of Pretrial Release. Doc. 130. For the reasons set forth in this

Memorandum Opinion and Order, the Court finds that Defendant violated federal law during his

previous period of pre-trial release and is unlikely to abide by any conditions of release if granted

again. Accordingly, Defendant will remain detained pending trial.

                                        BACKGROUND

       On February 27, 2019, Defendant was indicted on one count of conspiracy to commit bank

fraud in violation of 18 U.S.C. § 1349 and two counts of bank fraud in violation of 18 U.S.C. §

1344. Doc. 2. A detention hearing was conducted by United States Magistrate Judge Ritter

pursuant to 18 U.S.C. § 3142. Docs. 11, 30. Pretrial Services recommended Judge Ritter remand

Defendant to the custody of the U.S. Marshals pending trial. Doc. 30 at 19. Judge Ritter observed

that “[s]ome of the most concerning things in the Pretrial Services report are the apparent lack of

honesty with Pretrial Services,” and found by a preponderance of the evidence that no condition

or combination of conditions of release would reasonable assure Defendant’s future appearance in
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court as required. Doc. 30 at 19; Doc. 13 at 2. With a new attorney, Defendant later filed a motion

for pretrial release (Doc. 29). This motion was granted and Defendant was released to a halfway

house on the condition that he comply with federal, state and local law. Doc. 34; Doc. 36 at 1-2.

       On June 10, 2019, Defendant filed a motion to modify his conditions of release; namely,

Defendant sought to live at his mother’s residence. Doc. 41. The Court granted the motion, but

warned that if Defendant violated the conditions of his release, a warrant would issue for his arrest.

Doc. 110 at 12. Defendant was directly ordered not to commit any further crimes. Doc 46 at 1.

       Following the withdrawal of Defendant’s second attorney, the Court was bombarded with

frivolous and incomprehensible pro se filings by the Defendant, despite his access to a third

attorney’s representation. See Docs. 63, 64, 67-77, 79-83, 101. These filings were struck by the

Court sua sponte, Docs. 88, 102, and ultimately Defendant was warned that “further filings of this

nature will also be stricken and may result in the Court modifying or revoking Defendant’s pretrial

release conditions such that Defendant is remanded into the custody of the U.S. Marshal . . . ”

Defendant submitted another such pro se filing, but it cannot be determined with certainty whether

Defendant was in receipt of the Court’s warning prior to the filing. See Doc. 130 at 4.

       In April, 2020, the United States provided evidence that Defendant committed a federal

offense while on release by filing a Form 56 with the IRS listing the Court as a fiduciary for the

Defendant and describing the Court as “Appointed as special executor by general executor.” Doc.

103. Accordingly, and consistent with the conditions of his release, the Court remanded Defendant

to the custody of the U.S. Marshals Service, finding probable cause to believe that Defendant

violated two federal statutes by filing the falsified information with the IRS. Doc. 127 at 6-9.

       Defendant now motions the Court to reimpose his previous release on the grounds that (1)

he has signed a sworn declaration that he won’t send illegal mailings to the IRS, the Court or



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otherwise, and (2) he has been diagnosed with high-blood pressure, which makes him more

susceptible than others to COVID-19. Doc. 130 at 1.

                                                LAW

       A defendant in a federal criminal case is subject to revocation of the conditions of his

pretrial release when he violates one or more of those conditions. 18 U.S.C. § 3148(a). The Court

shall enter an order of revocation and detention when there is “probable cause to believe that the

person has committed a [f]ederal, [s]tate, or local crime while on release” and either “there is no

condition or combination of conditions of release that will assure that the person will not flee or

pose a danger to the safety of any other person or the community” or “the person is unlikely to

abide by any condition or combination of conditions of release.” 18 U.S.C. § 3148(b). When a

defendant commits a federal, state or local felony offense while on pretrial release in a federal

case, a presumption arises that no combination of conditions will assure that the person will not

pose a danger to the safety of any other person or the community. 18 U.S.C. § 3148(b)(2).

                                           DISCUSSION

       As the Court found on June 29, 2020, there is probable cause to believe that Defendant

committed at least two federal offenses while on release in violation of § 3148(b)(2). Furthermore,

there is hardly any doubt as to the Defendant’s propensity for truthtelling and compliance; he has

lied to officials and violated the conditions of his release already when such conditions were made

explicitly clear to him. It is the Court’s duty to ensure that Defendant poses neither a risk of flight

nor a danger to the safety of any other person in the community, and that the Defendant will abide

by those conditions or a combination of conditions of release. There are differing judicial

conclusions as to Defendant’s risk and ability to comply, as he has been found once to pose a risk

of flight, and separately, he was released on the grounds that this risk was mitigated enough by the



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circumstances to extend pretrial release to the Defendant with conditions. However, upon incessant

frivolous court filings, as well as the submission of falsified information to the IRS while on

pretrial release—release conditioned on compliance with federal law—there is now no doubting

that any representations Defendant may make in ostensible support of his commitment to comply

with applicable law and conditions of release cannot be trusted. As the Court has already noted:

       Defendant has engaged in a pattern of frivolous filings—and continued to do so
       even after being ordered to discontinue such conduct, to a degree that is harassing
       and of dubious legality. He shows no qualms about using materially false filings to
       attempt to encumber and intimidate this Court; and there is no reason to believe that
       he would stop if his release was allowed to continue. Based on Defendant’s past
       conduct, the Court also finds that Defendant is unlikely to abide by any condition
       or combination of conditions of release.

       Doc. 127. Nothing has changed. Defendant now believes that a signed statement obligating

him to abstain from unlawful conduct will suffice as “new or newly discovered factual

circumstances” warranting pretrial release when the subject crime—the very crime for which his

release was revoked—involved falsified statements. See Doc. 130 at 7. The Court is not convinced

that this is the kind of new “information” which is sufficient to reopen the applicable hearing,

much less information based on the already demonstratively questionable integrity of the

signatory-Defendant. The substantive standard for determining whether the Defendant can be

released relies entirely on “whether there are conditions of release that will reasonably assure the

appearance of the person as required and the safety of the community.” 18 U.S.C. § 3142(g); see

also 18 U.S.C. § 3148(b)(2) (incorporating the § 3142(g) release/detention factors into the

revocation analysis). The Court is now convinced that there are no conditions of anything with

which Defendant would comply at all, much less release conditions requiring him to appear at his

trial for a crime with potentially heavy penalties.

       Defendant’s second piece of new “information” relates to a purported medical condition,



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namely, hypertension (high blood pressure), which he believes increases the risk that he will

contract COVID-19 if he remains in pretrial detention. First, conditions allegedly increasing a

detainee’s risks of contracting COVID-19 or of suffering more severe reactions to the virus are not

sufficient for release, and Defendant has offered nothing to suggest that he faces a reduced risk of

contracting COVID-19 if released. See United States v. Martin, 2020 WL 1274857, 2–3 (D. Md.

Mar. 17, 2020) (declining defendant’s motion for release when defendant had health conditions

making him particularly sensitive to COVID-19); see also United States v. Jai Montreal

Winchester, 2020 WL 1515683, 12 (M.D.N.C. Mar. 30, 2020) (declining to release a defendant

because his arguments “applie[d] equally to every detainee in detention” and were merely attempts

to use the “current public health crisis as an opportunity to obtain . . . release by substituting

conjecture, hyperbole, misstate for reasoning”). Second, even if Defendant’s blood pressure was

sufficient on its own to demonstrate lawfully excessive risk of exposure to the COVID-19,

Defendant would still be held to the requirements of §§ 3142(g) and 3148(b)(2), requirements

which the Court is now thoroughly convinced cannot be met with respect to this Defendant.

                                         CONCLUSION

       Defendant has already been given the opportunity to obey the law and the conditions of

release, and this he failed to do. For these reasons, and those otherwise set forth in this

Memorandum Opinion and Order, Defendant’s Opposed Motion for Re-imposition of Conditions

of Pretrial Release is DENIED.

       IT IS SO ORDERED.

                                                  ___________________________________
                                                  WILLIAM P. JOHNSON
                                                  CHIEF UNITED STATES DISTRICT JUDGE




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